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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
WESTERN DIVISION

LAURIE RAYMoND, d/b/a A-i TowrNG,
Plainaff,'
VS.

ROD R. BLAGOJEVICH, as Governor of the
State of Illinois,
' ` ` and

ILLI`NOIS COMMERCE COMMISSION, ‘

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) NO. 03 C 50195
EDWARD C. HURLEY, as Chairman of )

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the Illinois Commerce Commission, LULA
M. FORD, MARY FRANCES SQUIRES,
KEVI`N K. WRIGHT and ERIN
O’CONNELL-DIAZ, all in their capacity
as Commissioners of the Illinois Commerce
Comniission; and SC_OTT WSEMAN, as
Executive Director of the Illinois Commerce
Commission,
Defendants.
AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
NoW CoMEs LAURIE RAYMOND, afb/a A*i ToWING, Plaimiff herein, by
her attorney, Terry L. Deck, and complaining of Defendant Rod Blagojevich, Governor
of the State of Illinois, and Defendant Illinois Commerce Commission; by its Chairman,

Connnissioners and Executive Director named above, and for this cause of action would

respectfully show this Court the following

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Nature or A¢iio`n
1. This is a claim for declaratory relief pursuant to Fed.R.Civ.P. 57 and 28 _U.S.C.
Sect. 2201, and injunctive relief pursuant to Fed.R.Civ.P. 65, arising from the acts and/or
omissions of the Det`endants, in violation of and pursuant to the laws of the United States
of Ainerica, specifically the United States Constitution, Art. I, Sect. 8, c.. 3, and Art. VI,

and the'lnte`rstate Cornrnerce Act, 49 U.S.C., Sect. 14501 (c)(l) and (2).

Jurisdiction and Venuc

2. Jurisdiction is invoked pursuant to Title 28 U.S.C. Sect. 1331. Venue is proper

- in this District pursuant to 28 U.S.C. Sect. l3'9l(b). '

Parties
3. Plaintiff, Laurie Raymond, is the owner and operator of a business known as A-
1 Towing. Laurie Raymond, d/b/a A-l Towing is located within the municipal

boundaries of the City of Rockford, Illinois, and is in the business of towing motor

vehicles illegally parked on private property.

4. Defendant, Rod R. Blagojevich, is joined as a defendant in his capacity as
Governor of the State of Illinois.

5. Defcndant Edward C. Hurley is joined as a defendant in his capacity as
Chairman of the lllinois Comrneree Commission.

6. Det`enclants Lula M. Ford, Mary Frances Squires, Kevin K. Wright and Erin
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O’Connell-Diaz are each joined as defendants in their capacity as Comrnissioners of the
Illinois Comrnerce Comrnission.
7. Defendant Scott Wisernan is joined as a defendant 111 his capacity as Executive
Director of the Illinois Cornmerce Commission.
8 That Defendant Illinois Commerce Commission is made a party to this
proceeding because it is the State governmental entity to which enforcement and
administrative authority regarding application of the statute complained of below has

been delegated

Facts
- 9. That the State of Illinois has enacted the “Illinois Comrnercial Relocation Of
Trespassing Vehicles Law”, 625 Illinois Compiled Statutes 5/18a, et. seq. This statutory

scheme promulgates definitions rules, requirements, etc., for towing businesses which

` remove vehicles illegally parked on private property and which are thereafter stored until

reclaimed by the vehicle owner. A copy of 625 ILCS 5/ 18a ls attached to this Complaint

as exhibit "A."

10. Article I of the statute cited above delegates enforcement and administrative

' authority to the 'Illiriois Corrirrietce Comrnission `(heteafter referred to as “the

_Comnlission”). The relevant language regarding this delegation, and defining the policy
underlying the Statute, is as follows:

It is hereby declared to be the policy of the State of Illinois to supervise and

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regulate the commercial removal of trespassing vehicles from private
property, and the subsequent relocation and storage of such vehicles in such
manner as to fairly distribute rights and responsibilities among vehicle
owners, private property owners and commercial vehicle relocators, and for
this purpose the power and authority to administer and to enforce the
provisions of the Chapter shall be vested in the Illinois Commerce
Commission. (625 ILCS 5/18a-101). (Emphasis added)

11. “Co`mmercial vehicle relocator” is defined as “ . . . any person or entity

engaged in the business of removing trespassing vehicles from private property by means

n _ _of towing or otherwise, and thereafter relocating and storing such vehicles.” (625 ILCS

5/18a-100(1). Plaintiff is a "‘cornrnercial' vehicle relocator” within the meaning of the n
statute

" 12. Atticle III of the Statute enumerates a number of unlawful practices for
businesses engaged as commercial vehicle relocators. For example, the Statute makes it
unlawful for a commercial vehicle relocator to operate such a business without a valid
relocator’s license, as provided for in Article IV of the Statute (625 ILCS 5/18a-300(1)).
The said Article also'requires an “operator’s employment permit,” (625' ILCS 5/18a-
300(2)) and a “dispatcher’s employment permit,” (625 ILCS 5/18a-300(3)), for various
employees of the towing business Article ’III' also contains language governing many

other aspects of a commercial relocating operation These include, but are not limited to,

` the following types of requirements and/ot-prohibitions:

a. Requiring the commercial vehicle relocator to include his or her
relocatot’s license number in any advertising (625 ILCS 5/18a-300(6);
- -b. 'Removal of the trespassing vehicle from the tow vehicle under certain,

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defined circumstances (625 ILCS 5/18a-300(9);

c. Prorninent posting of Commission locations and telephone numbets, to
which inquiries or complaints regarding the relocatot can be sent (625
ILCS 5/ 18a-300(13) ;

d. Distribution of written information to owners of trespassing vehicles
regarding “. . . relevant statutes, regulations and ordinances governing
commercial vehicle relocators . . . . “ (625 ILCS '5/18a-300(13.1);

_e. Regulation of the number of miles a vehicle may be towed; (625 ILCS
5/18a-300(14);

f. Requirement of having an employee of the relocator available “ at any

time” on the premises owned by the relocator for the purpose of

* arranging the “im.mediate release” of a towed vehicle (625 ILCS 5/18a-
300(15)-; -

g. Waiver of all towing fees and storage charges if the vehicle owner is
unable to contact the relocator within a certain, specified period of time
(625 ircs 5/183-.300(15);

-h. Requirement` that written notice, in the form of a sign or signs to be

placed on property from which illegally parked vehicles may be
removed, be provided This section of the statute describes both the

size and content of the sign or signs to be posted (625 ILCS 5/18a-302);

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i. Prohibiti'on of acting as an “operator” without a valid operator’s
employment permit (625 ILCS 5/18a-304);
Plaintiff will contend that each of these requirements and provision are in violation of the
Interstate Comrnerce Act in “Federal Preemption: 49 U. S. C Sect l4501(c) ” later in this
Complaint. -
13. Article IV of the Statute describes the procedures and requirements for
_ obtaining the commercial vehicle relocator’s license, as required in Atticle IlI. The said
Atticle IV also contains provisions for the granting, denial and revocation of “operator’s
employment permits” and “dispatchers employment permits.” 'l`hese requirements will
also be set out in greater detail in the “Federal Preemption” section of this Complaint. -
14. Article V of the Statute describes requirements for posting of rates for towing
and storing vehicles Article VI describes the authority of the Illinois Commerce
Commission to set application fees for relocator’s, operator’s and dispatcher’s license
applications
15. Article VII of the Statute describes the counties within the State of Il]inois
covered by the Act. Counties with a population of fewer than l,OO0,000 may elect to be
covered “ . . . by the adoption of a resolution by the County Board, approved by a majority
of its members, providing that the county shall be subject to this chapter The county
clerk shall certify to the Comrnission that the County Board has adopted the resolution
The Comniission shall certify to such County Board an effective date for the applicability
lof this Chapter in such county.” (625 ILCS 5/18a700(C)). F or purposes of this
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Complaint, Plaintiff states that the County of Winnebago, Illinois, has taken those
measures described above to cause the Act to be enforceable in Winneb_ago County.

Further, Plaintiff is infoirned, and reasonably believes, that the Act became applicable in

Winnebago County on May 1, 2003.

Federal Preerni)tion:' 49 U.S.C. Sect. 14501( ci

16. The Interstate Commerce Act, United States Cod'e, Title 49, Section

' 14501(c)(l) and (2) states as follows:

Sect. 14501. Federal authority over intrastate transportation

(c). Motor carriers of property '(l) General rule - Except as provided in
paragraphs (2) and (3), a State, political subdivision of a State, or political
authority of 2 or more States may not enact or enforce a law, regulation,
`or other provision having the force and effect of law related to a price,
route, or service of any motor carrier (emphasis added). . . .or any motor
private carrier, broker, or freight forwarder with respect to the transportation

of property

(2) Matters not covered.` - Paragraph (l) -
(A) shall not restrict the safety regulatory authority of a State
with_respect to motor vehicles (emphasis added), the authority of a State to
n impose highway route controls or limitations based on the size or weight of
the motor vehicle or the hazardous nature of the cargo, or the authority of a
State to regulate motor carriers with regard to minimum amounts of
financial responsibility relating to insurance requirements and self~
insurance authorization (etnphasis added); and
(B) does not apply to the transportation of household goods; and
(C) does not apply to the authority of a State (emphasis added) or
a political subdivision of a State to enact or enforce a law, regulation, or
other provision relating to the price of for-hire motor vehicle transportation
by a tow truck, if such transportation is performed without the prior consent
or authorization of the owner or operator of the motor vehicle

' " . 17. The Plaintiff is a "motor carrier" and/or "motor private cartier," as defined by

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49 U.S.C. Sect. 13102(12) and/or (13). 'l_"ow trucks and/or wreckers are "motor vehicles"

as defined by 49 U.S.C. Sect. 13102(14).

. 18. Further, the`statute defines "State" as "the 50 States of the United States and
the District of Columbia (49 U.S.C. Sect. 13012(18).

19. The Plaintiff alleges that the Illinois Commercial Relocatioii of Trespassing
Vehicles haw, the contents`of which are described in paragraphs 12, 13, and 15 above,
constitutes a law, regulation, or other provision having the force and effect of law relating
to price, route or service of a motor carrier. Specifically, the statutory sections described
in this Petition have the force and effect of regulating, and effectively denying, the
Plaintiff‘s ability to engage in the service of towing motor vehicles that have been illegally
parked on private property.

20. Any provision of the State-’s Commercial Relocation of Trespassing -Vehicle’s
Law regulating wrecker and towing services having the effect of regulating “price, route or
service of any motor carrier” has been pre-empted by 49 U.S.C. Sect. 14501(c)(1) and (2)
through the United States Constitution, -Art. I, Sect. 8, cl. 3 and Art. VI Any enforcement

of the Law, whether by the Illinois Commerce Commission, which regulates “price, route

' or service” which the Plaintiff may engage in is unlawful and unconstitutional.

21. Specifically, Plaintiff contends that statutory provisions described at
Paragraphs 12, `13 and 15 above have no connection to those limited areas of State

regulation allowed by the Interstate Cornmerce Act. These cited provisions are not, for

'example, related to the “safety regulatory authority of 'a'State`with respect to motor

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vehicles.” (49 U.S.C. 14501(0)(2)(A). There are simply no provisions from the State

statute outlined at paragraphs 12, 13 and 15 above that relate to vehicle safety. Rather,

that these listed provisions effectively regulate the “price route or service” of Plaintiff’ s

' business and, as such, are prohibited by the language of the Interstate Commerce Act

22. Plaintiff also contends that the licensing provisions of the Illinois Comrriercial
Relocation of Trespassing Vehicles Law are also preempted by the language of the
Interstate Commerce _Act quoted at paragraph “16" above. By way of background, the
Law complained of herein requires a commercial vehicle relocator to obtain a “relocator’s `
license,” before doing business in any county in which the Law applies (625 ILCS 5/18a-
300(1). rI'he statute also describes the procedure for obtaining the license. The applicant
must file a written application with the Illinois Commerce Commission (625 ILCS 5/18a-
400) The Commission then assigns a hearing date, of Which hearing date, the applicant is
required to provide public notice  With regard to the granting or denial of such a license, -
the statute goes on to use'tlie following'language:

1 The Commission shall issue a relocator’s license to any qualified applicant

therefor after hearing . . . if it is found that the applicant is fit, willing and
able properly to perform the service proposed and to conform to

. provisions of this Chapter and the requirements, rules and regulations of
the Commission Otherwise such application shall be denied.
23. Plaintiff argues that the language of the statute describing the application for

and acquisition of such a relocator’ s license creates a licensing scheme prohibited by the

Interstate Commerce Act. Wliile the Act for example allows a state to regulate motor

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carriers “. . . with regard to minimum amounts of financial responsibility relating to

insurance requirements . . . ,” (49 U.S.C. 14501(c)(2)(A)), the relocator’s license

effectively requires compliance with all of the relevant regulations and requirements

-- contained in the State statute complained of. And this is especially significant given

_ Plaintiff s argument above that the majority of these regulations are requirements which

are preempted by federal law.

24. The Illinois statute challenged herein also requires the obtaining of “operatot
employment permits” and “dispatcher employment permits.” (625 ILCS 5/18a¥300(3)).
An operator is defined asi“.. .any person who, as an employee of a commercial vehicle
relocator, removes trespassing vehicles from private property by means of towing or
otherwise lt also includes the driver of a tow vehicle. (625 ILCS 5/18a-100(3). A
dispatcher is “ . . . any person who, as an employee . . . of a commercial vehicle relocator,

` dispatches vehicles to or from locations h'oi_n which operators perform removal activities
(625 ILCS 5.isa-ioo(6). l

25. The procedure for application and acquisition of such permits is also described
lin the statute. Following submission of a written application, the Commission conducts a
criminal backgron check of the applicant The Commission thereafter issues a
“provisional”'employment permit, unless the Cornmission determines that the applicant
has committed a criminal offense for which such a permit could be revoked (625 ILCS
‘5.18a-403(1),(2). Once again, it is Plaintiff’s contention that the permit scheme for

“operators” and “dispatchers” bears no relationship to those areas of State control of a

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towing business allowed by the Interstate Commerce Act. Specifically, these permit

requirements are not related to either the issue of vehicle safety or insurance coverage for

the relocator. Just as with those regulations and requirements contained' in Article III of

the State statute, these licensing and permit schemes are, in effect, regulations of“ price,
route and service” and are, -therefore, preempted by the Interstate Commerce Act.

26. Plaintiff further alleges that her conclusion that the State regulations in
question are effectively consumer-protection oriented, i.e. related to “price, route and
service,” rather than to vehicle safety is supported by the language quoted from the State
statute at Paragraph “10" above. That language, as already noted, defines the policy

underlying the statute as follows: “ . . . to fairly distribute rights and responsibilities

among vehicle owners, private property owners and commercial vehicle relocators. .

This type of policy, and the statutory scheme created to enforce it, are clearly in violation

or 49 U. s C sect 14501(0)(1)&(2)

Relief Reguested: Declaratory Relief

27. Plaintiff hereby realleges and incorporates paragraphs l through 26 as if fully
l set forth herein.

28. Plaintiff requests that this Court declare those sections of the Illinois
-Commercial Relocation of Trespassing Vehicles Law, specifically those sections of that
statute described above in paragraphs 12, 13, 15 and 22- 25 above, as well as any other

sections of the said statute which have the force and effect of law, relating to the price,

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route or service a motor carrier may engage in or provide, as the same are preempted by

_49 U.S.C. Sect. l4501(c)(l) and (2).

l 29 -Plai-ntiff hereby realleges and incorporates paragraphs l through-28 as if fully
set forth herein.

-30. As a result of the enforcement of the illinois Commercial Relocation Of
'I`respassing Vehicles Law, regulating the price, routes and services that the Plaintiff may
use or perform, Plaintiff has been restrained from engaging in or conducting towing
services regarding vehicles which have been illegally parked on private-property

_ _ 3 l. Plaintiff has no adequate or speedy remedy at law for the above-mentioned
l conduct of lDe-fendants herein, and this action for injunctive relief is Plaintiff's only means
for securing relief. 'As such, Plaintiff requests a preliminary injunction and a permanent

injunction enjoining all of the Defendants named herein, their agents, employees and all

other persons, firms, or corporations acting with or for the said Defendants from enforcing

or enacting any law, ordinance, regulation ,.or provision having the force and effect of law

relating to the price, route or service the Plaintiff as motor carrier may provide or engage

. in.

32. Plaintiff has suffered, and will continue to suffer, irreparable injury if
Defendants are not enjoined from enforcing the Illinois Commercial Relocation of

Trespassing Vehicles Act.
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Relief Reauested: Monev Damag_s

33. Plaintiff hereby realleges and incorporates paragraphs l through 32 as if fully
set forth herein.

34. Plaintiff has suffered damages as a direct and proximate cause of a deprivation
of her civil liberties caused by the enforcement of the official policies of the State of
Illinois and the Illinois Commerce Commission, as described within the body of this
Complaint. q

35. Pursuant to 42 U. S. C Sect 1983, et seq. the Plaintiff is entitled to recover
those actual damages incurred as a direct and proximate result of the deprivation of her
rights, privileges and immunites, including but not limited to, the following damages:

-a. Loss of` income;

b. Loss of business;

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c. Loss of p_rofitsi
. _ _ d. Deprivation of Plaintist Constitutional rights; and
: - e. Other losses and damages not yet known.
Wl-IER_EFORE, Plaintiff, Laurie Raymond, d/b/a A-l Towing, respectfully requests
- this Court as follows:

A. To determine and declare that those provisions of the llliiiois Commercial
Relocation of Trespassing Vehicles Law which regulate prices, routes or services of tow '
truck operations are expressly preempted by 49 U.S.C. Sect. 14501(0)(1) and (2).

1 ,`- _ -` _ n ` Bl lssue"a preliminary and permanent injunction enjoining and restraining the State

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of Illinois and the Illinois Commerce Commission, their officers, agent`s, employees,
successors, attorneys, and all those in active concert or participation wit them, from
enforcing and provisions of the said Illinois Commercial Relocation of Trespassing
Vehicles Law, to the extent that the statute regulates and limits Plaintiffs ability to engage
in the service of towing vehicles which illegally park on private property.

C. Aw'ar'd to Plaintiff her reasonable court costs and attorney‘s fees pursuant to 42
U.S.C. Sect. 1998.

D. Award money damages to Plaintiff as requested above.

E. Award to Plaintiff such other and further relief as this Court may deem proper.

Respectfully submitted,
Laurie Raymond, d/b/a A~l Towing,

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Terry L. Decl,H
Her Attorney

 

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VERIFICA__'I_'ION
Now comes Laurie Raymond, d/b/a A-l 'l`owing, Plaintiff herein, and states, under
oath, and under penalty of perjury, attests that she has read the Complaint to which this

Verification` is attached, that she is familiar with'the contents thereof`, and that the

l statements contained therein are true, correct and complete, to the best of her knowledge,

information and'belief`. ' %`wl¢ . _ _
Laurie P£ymond

Subscribed and sworn before me

7%/ day of May, 20 3.

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